Case 3:20-cr-00249-RS Document 89 Filed 05/31/22 Page 1of 14

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

UNITED STATES OF AMERICA,
NO. CR-20-00249 RS
PLAINTIFF,
STATUS HEARING
VERSUS
MARCH 8, 2022
ROWLAND MARCUS ANDRADE,
PAGES 1 - 13
DEFENDANT.

TRANSCRIPT OF PROCEEDINGS
BEFORE THE HONORABLE RICHARD SEEBORG
UNITED STATES DISTRICT JUDGE

APPEARANCES VIA ZOOM:
FOR THE PLAINTIFF: U.S. ATTORNEY'S OFFICE
BY: ANDREW DAWSON
ROSS WEINGARTEN
450 GOLDEN GATE AVENUE
BOX 36055
SAN FRANCISCO, CA 94102

FOR THE DEFENDANT: KING & SPALDING
BY: MICHAEL SHEPARD
AMY HITCHCOCK
LUKE RONIGER
50 CALIFORNIA ST., STE 3300
SAN FRANCISCO, CA 94111

COURT REPORTER: GEORGINA GALVAN COLIN, CSR
LICENSE NO. 10723

Case 3:20-cr-00249-RS Document 89 Filed 05/31/22 Page 2 of 14

SAN JOSE, CALIFORNIA MARCH 8, 2022
P-R-O-C-E-E-D-I-N-G-S

(WHEREUPON, COURT CONVENED AND THE FOLLOWING
PROCEEDINGS WERE HAD: )

THE CLERK: CALLING CASE 20-CR-249, UNITED
STATES VERSUS ROWLAND MARCUS ANDRADE.

COUNSEL, PLEASE STATE YOUR APPEARANCES.

MR. DAWSON: GOOD AFTERNOON, YOUR HONOR.
ANDREW DAWSON AND ROSS WEINGARTEN FOR THE UNITED STATES.

THE COURT: GOOD AFTERNOON.

MR. SHEPARD: AND, GOOD AFTERNOON, YOUR HONOR.

MICHAEL SHEPARD WITH TWO OF MY COLLEAGUES, AMY
HITCHCOCK AND LUKE RONIGER, FOR THE DEFENDANT MR. ANDRADE
WHO IS PRESENT BY ZOOM AND CONSENTS TO PROCEED IN THAT
FASHION DUE TO THE PANDEMIC.

THE COURT: GOOD AFTERNOON.

SO WE WERE LAST TOGETHER, I THINK, IN
DECEMBER. AND MR. SHEPARD YOU HAD ENTERED THE CASE AND
NEEDED SOME TIME FOR DISCOVERY REVIEW. AND WE SET THIS
MATTER FOR TODAY. SO, LET ME START WITH THE GOVERNMENT.

MR. DAWSON, DO YOU WANT TO TELL ME WHERE YOU
THINK THINGS STAND?

MR. DAWSON: OF COURSE, YOUR HONOR. SINCE OUR
LAST APPEARANCE BEFORE YOU, WE HAVE CONTINUED WITH

PRODUCING DISCOVERY. IN THE GOVERNMENT'S VIEW, THE

Case 3:20-cr-00249-RS Document 89 Filed 05/31/22 Page 3 of 14

AFFIRMATIVE PRODUCTION OF DISCOVERY IS LARGELY COMPLETE.
WE HAVE BEEN IN DISCUSSIONS WITH DEFENSE COUNSEL ABOUT
ADDITIONAL MATERIALS. THERE'S SOME MATERIALS IN THE
PHYSICAL FILE THAT WE ARE WORKING ON ARRANGEMENTS FOR
DEFENSE COUNSEL TO HAVE ACCESS TO AND TO REVIEW. THERE IS
AN ONGOING PRIVILEGE REVIEW PROCESS BUT THESE, I THINK, IN
THE GOVERNMENT'S VIEW ARE RELATIVELY SMALL NEGOTIATIONS.

WE HAVE ALSO BEGUN DISCUSSIONS ON WHETHER OR
NOT THIS MATTER MAY BE ABLE TO RESOLVE THROUGH
NEGOTIATIONS. WE ANTICIPATE, IN THE GOVERNMENT'S VIEW,
THOSE NEGOTIATIONS WILL EITHER BE FRUITFUL OR NOT. AND WE
SHOULD KNOW THAT WITHIN THE NEXT 30 DAYS IS OUR VIEW. I
KNOW MR. SHEPARD HAS A DIFFERENT VIEW ON EXACTLY WHERE TO
GO FROM HERE SO I'LL LET HIM SPEAK FOR HIMSELF, OF COURSE.

IN THE GOVERNMENT'S VIEW, ONCE WE HAVE
ASSESSED WHETHER OR NOT THE MATTER IS AMENABLE TO
RESOLUTION THROUGH A PLEA AGREEMENT, IF IT IS NOT, WE
THINK THE COURSE THEN IS TO SET A TRIAL DATE. THE MATTER
HAS BEEN PENDING FOR COMING UP ON TWO YEARS. OBVIOUSLY,
DELAYS HAVE BEEN UNDERSTANDABLE. MR. SHEPARD WAS
APPOINTED, ALONG WITH HIS FIRM, APPROXIMATELY SIX MONTHS
AGO.

SO OUR PROPOSAL WOULD BE A CONTINUANCE OF 30
TO 45 DAYS TO SEE WHETHER A RESOLUTION IS IN THE OFFING.

AND THEN A TRIAL SETTING HEARING AFTER THAT. ALTHOUGH, I

Case 3:20-cr-00249-RS Document 89 Filed 05/31/22 Page 4of14

KNOW MR. SHEPARD HAS A SLIGHTLY DIFFERENT VIEW. SO I CAN
LET HIM EXPLAIN WHERE HE'S COMING FROM.

THE COURT: OKAY. MR. SHEPARD?

MR. SHEPARD: THANK YOU, YOUR HONOR. YES, I
DO HAVE A DIFFERENT VIEW. MY VIEW IS WE NEED MORE TIME.
IT WOULD SAY A MINIMUM OF 90 DAYS, MORE LIKELY 120 DAYS.
AND THEN WE CAN COME BACK AND HOPEFULLY BE READY TO MAKE
SOME PROGRESS.

THE REASON WHY I SAY THAT IS, FIRST, THERE'S A
HUGE VOLUME OF INFORMATION. SECOND, WE DON'T EVEN HAVE IT
ALL YET. AND, SOMEWHAT DISAGREEING WITH MR. DAWSON,
THERE'S SOME MATERIAL INFORMATION THAT WE DON'T HAVE.
AND, THIRD, THAT'S NOT FOR LACK OF RESOURCES OR EFFORT.
WE'VE BEEN THROWING A GREAT DEAL OF EFFORT TO THIS, IT'S
JUST A HUGE VOLUME OF STUFF TO GET OUR ARMS AROUND. AND,
YES, THE CASE HAS BEEN PENDING FOR TWO YEARS, BUT OF
COURSE WE'VE ONLY BEEN IN IT SINCE THE END OF SEPTEMBER.
AND WE ONLY FIRST GOT DISCOVERY FOUR MONTHS AGO. AND, AS
I'LL DETAIL, THE VOLUME OF THAT IS JUST HUGE. AND IS
STILL, STILL COMING.

JUST TO GIVE YOU A FLAVOR OF THE VOLUME, IT'S
347 PAGES OF -- 347,000 PAGES OF DISCOVERY. AND THAT
DOESN'T EVEN INCLUDE ABOUT 100 HOURS OF RECORDINGS THAT
ARE UNTRANSCRIBED. THERE ARE MULTIPLE DIFFERENT FRAUDS

ALLEGED. AND EACH ONE HAS A SET OF WITNESSES, AND A SET

Case 3:20-cr-00249-RS Document 89 Filed 05/31/22 Page 5of14

OF DOCUMENTS. THERE ARE, BY MY COUNT, 186 DIFFERENT 302
FILES FOR 118 DIFFERENT WITNESSES. THERE ARE 11, BY OUR
COUNT, DIFFERENT SEARCH WARRANTS.

AND THEN THERE'S JUST A WHOLE LOT OF
COMPLICATED TECHNOLOGY TO UNDERSTAND, BECAUSE THE
GOVERNMENT ALLEGES THAT MR. ANDRADE DIDN'T HAVE ANY
TECHNOLOGY, AND HE SAYS HE DOES. SO, GOT TO, GOT TO
UNDERSTAND ALL THE TECHNOLOGY. A NUMBER OF OTHER EXPERTS
THAT WE NEED TO ENGAGE, WHICH CAN BE SOMEWHAT OF A
CHALLENGE IN A WHITE COLLAR CASE AT CJA RATES BECAUSE THEY
HAVE COMPETITIVE ENDEAVORS WHERE THEY CAN MAKE MORE MONEY,
SO THAT'S KIND OF SLOW SLOGGING AS WELL.

AND WE'RE ONLY BEGINNING TO ASSESS POTENTIAL
MOTION WORK. WE'RE ONLY BEGINNING BECAUSE, FROM MY MIND,
IN ORDER TO MAKE DETERMINATIONS ABOUT THAT YOU REALLY HAVE
TO UNDERSTAND THE WHOLE CASE AND WE'RE NOT QUITE THERE
YET. BUT WE CAN ALREADY SEE SOME POTENTIAL MOTIONS TO
BRING. FOR EXAMPLE, WE HAVE SEEN, IN THE GOVERNMENT'S
PRODUCTION, SOME ATTORNEY-CLIENT PRIVILEGE MATERIAL, OR AT
LEAST MATERIAL WE BELIEVE IS ATTORNEY-CLIENT PRIVILEGE, SO
THERE'S A WHOLE WORK STREAM THERE FOR US TO DEAL WITH.

AND SOME OF THOSE 11 SEARCHES THAT I MENTIONED
WERE SEARCHES OF MR. ANDRADE'S BUSINESSES, AND SO THERE
ARE POTENTIAL FRANKS MOTIONS AND MOTIONS TO SUPPRESS THAT

WE NEED TO CONSIDER FOR THOSE. AND THERE'S JUST A

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Case 3:20-cr-00249-RS Document 89 Filed 05/31/22 Page 6 of 14

TREMENDOUS NUMBER OF DIFFERENT WORK STREAMS AND MATERIAL
THAT WE NEED TO GET OUR ARMS AROUND. AND AT THIS POINT WE
DON'T EVEN HAVE IT ALL.

AND I DON'T MEAN THAT AS A CRITICISM OF
MR. DAWSON OR MR. WEINGARTEN BECAUSE THEY HAVE BEEN VERY
COOPERATIVE AND HELPFUL WITH US. BUT AS MR. DAWSON
ASSERTED TO, THE GOVERNMENT HAS TOLD US THAT MATERIAL FROM
ONE OF THE SEARCH WARRANTS, APPARENTLY ONE OF SOME
PROPERTY OF MR. ANDRADE'S IS STILL BEING REVIEWED BY A
TANK TEAM. AND I KNOW, I HEARD THAT IT'S BEEN TWO YEARS
SINCE THE INDICTMENT, I DON'T HAVE ANY INSIGHT INTO WHY
THERE'S MATERIAL STILL BEING REVIEWED BY A TANK TEAM, BUT
OBVIOUSLY THAT'S IMPORTANT MATERIAL FOR US, AND WE DON'T,
WE DON'T HAVE IT YET.

WE SENT THE GOVERNMENT, LAST WEEK, A LIST OF
MATERIAL THAT IT APPEARED TO US THAT SHOULD BE IN THE
DISCOVERY BUT WAS NOT IN THE DISCOVERY. AND IT SOUNDS,
AND IT COULD BE THAT SOME OF THAT IS JUST IN THE
UNSEARCHABLE MATERIAL. ABOUT, I DON'T KNOW, 100,000 OF
THOSE PAGES ARE NOT SEARCHABLE. THEY'RE JUST SORT OF LIKE
SCREEN SHOTS, AND DIFFERENT THINGS LIKE THAT THAT WE CAN'T
EVEN SEARCH. SO IT'S POSSIBLE SOME OF THAT MATERIAL IS IN
THE UNSEARCHABLE PORTION OF DISCOVERY. BUT IT SOUNDED
LIKE, FROM THE PROMPT RESPONSE WE GOT FROM MR. DAWSON, A

LOT OF IT IS MATERIAL THAT WE DON'T ACTUALLY HAVE YET.

Case 3:20-cr-00249-RS Document 89 Filed 05/31/22 Page 7 of 14

AND AMONG THE MATERIAL THAT WE DON'T HAVE YET,
I BELIEVE, ARE, IS CELLEBRITE DATA FOR OUR CLIENT'S PHONE
AND DEVICES, AND FOR THE DEVICES OF HIS ALLEGED
CO-SCHEMER, I BELIEVE THAT'S WHO HIS ALLEGED CO-SCHEMER
IS, MR. ABRAMOFF. AND MY UNDERSTANDING IS THERE A WHOLE
LOT OF TEXTS BETWEEN THE TWO OF THEM. THOSE ARE OBVIOUSLY
IMPORTANT, AND WE DON'T HAVE THOSE YET EITHER. SO,
THERE'S A WHOLE LOT OF MATERIAL THAT WE DON'T HAVE YET.
IN ADDITION TO ALL THE MATERIAL THAT WE DO HAVE, THAT
WE'RE STILL TRYING TO GET OUR ARMS AROUND.

AND, AS I SAY, IT'S NOT, IT'S NOT FOR LACK OF
EFFORT. WE NOW HAVE SEVEN PEOPLE WORKING ON THIS CASE.
AND WE'VE HAD SEVEN PEOPLE WORKING ON IT FOR A WHILE NOW.
AND, SO, WE'RE CONTEMPLATING ADDING SOME MORE TO MAKE SURE
WE CAN GET THROUGH ALL THIS ON THE 90 TO 120 DAYS THAT I
THINK IS NEEDED. BUT THAT'S WHY I THINK IT'S NEEDED.

THE COURT: WELL, I HOPE, WHEN YOU SAID THAT,
AS I KNOW YOU DID COME INTO THE CASE FAIRLY RECENTLY, BUT
I HOPE YOU GOT SOME BENEFIT FROM THE WORK THAT YOUR
PREDECESSORS IN THE CASE DID. BECAUSE THEY CERTAINLY
DIDN'T ~- THEY CERTAINLY WERE SPENDING TIME ON THE CASE, I
KNOW THAT MUCH. PROBABLY EXPENDED QUITE A BIT OF
ATTORNEYS' FEES IN THE PROCESS, SO I HOPE THEY DID
SOMETHING OF VALUE FOR MR. ANDRADE.

BUT IT'S MORE AN OBSERVATION THAN A COMMENT OR

Case 3:20-cr-00249-RS Document 89 Filed 05/31/22 Page 8 of 14

A QUESTION. BUT I DO HOPE THAT YOU DID GET SOME, SOME
WORK PRODUCT THAT WAS OF SOME VALUE TO YOU. BUT ON WHAT --

MR. SHEPARD: I'D BE HAPPY TO ADDRESS THAT.
YES, I'D BE HAPPY TO ADDRESS THAT, IF YOU'D LIKE.

THE COURT: WELL, I AM SOMEWHAT CURIOUS ABOUT
IT. BECAUSE THEY, THERE WAS -- IT WAS A BIT OF AN ARMY
THERE AT ONE POINT WORKING ON THIS MATTER. AND I GOT SOME
UNUSUAL MOTION PRACTICE IN IT. SO I'M SORT OF WONDERING
WHAT HAPPENED? NOT -- I KNOW YOU CAN'T SHARE ANYTHING
MUCH, BECAUSE IT'S OBVIOUS YOU DON'T WANT TO --
INAPPROPRIATE FOR YOU TO DISCLOSE ANY PRIVILEGED OR
PROTECTED INFORMATION.

BUT, JUST ON THE QUESTION OF WHETHER OR NOT
WE'RE STARTING FROM GROUND ZERO OR IF THERE WAS SOME VALUE
UNDERTAKEN, I WOULD BE CURIOUS WHAT THE COMMENT IS YOU'VE
GOT ON THAT.

MR. SHEPARD: YEAH. SO OBVIOUSLY I NEED TO BE
CAREFUL BECAUSE --

THE COURT: SURE.

MR. SHEPARD: -- IT'S A LOT OF PRIVILEGED
COMMUNICATIONS, BUT I WOULD GUESS THAT THE BOTTOM LINE IS
LESS VALUE THAN YOU THINK.

THE COURT: OKAY.

MR. SHEPARD: AND THAT'S, IT'S NOT BECAUSE OF

LACK OF EFFORT ON OUR PART. SOME OF IT, WHICH WOULD NOT

Case 3:20-cr-00249-RS Document 89 Filed 05/31/22 Page 9 of 14

BE PRIVILEGED, FOR EXAMPLE, IS THAT I THINK THERE WAS SOME
EFFORT TO SET UP DATABASES AND THINGS LIKE THAT, AND TO
TAG DOCUMENTS IN DATABASES AND THINGS LIKE THAT. BUT
THOSE WERE DONE THROUGH VENDORS AND THOSE VENDORS WERE NOT
FULLY PAID. SO THOSE VENDORS HAVE NOT BEEN WILLING TO
COOPERATE WITH US. SO -- JUST AS AN EXAMPLE OF WHY IT'S
NOT AS MUCH AS YOU WOULD THINK AND I WOULD HAVE HOPED.

THE COURT: OKAY. WELL, THE IMMEDIATE
QUESTION IS NOT NECESSARILY, DOESN'T NECESSARILY REQUIRE
ME TO EMBRACE THE TALE OF TWO CITIES HERE THAT I HAVE IN
TERMS OF WHAT THE CASE, WHERE THE CASE IS AND WHERE IT'S
GOING. I DON'T SEE ANY REASON WHY WE SHOULDN'T HAVE A
FURTHER CASE MANAGEMENT CONFERENCE, STATUS CONFERENCE IN
60 DAYS, JUST TO KNOW WHERE THINGS ARE. I'M NOT SETTING
ANY DATES AS OF NOW. WHETHER OR NOT WE WAIT 90 TO 120 OR
30 TO 45 AS MR. DAWSON SUGGESTS, I DON'T THINK WE HAVE TO
SWEAT TOO MUCH OVER THAT DECISION.

I JUST, I WANT TO CHECK IN WITH YOU AND SEE
WHERE THINGS ARE, AND 60 DAYS SEEMS LIKE A REASONABLE TIME
TO DO THAT. AND WE'LL SEE AT THAT POINT IF MR. DAWSON IS
RIGHT AND THERE'S, YOU KNOW, EITHER SOME POSSIBLE
DISPOSITION, OR THINGS HAVE REALLY GOTTEN PACKAGED UP TO
MOVE FORWARD WELL, OR IF MR. SHEPARD IS RIGHT THAT WE'RE A
WAYS TO GO, AND, BUT I DON'T THINK I HAVE TO PICK ONE OF

THE TWO. I THINK I CAN JUST DO IT THE 60-DAY IS THE NEXT

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Case 3:20-cr-00249-RS Document 89 Filed 05/31/22 Page 10 of 14

CHECK IN WITH EACH OTHER.

MR. DAWSON: AND, YOUR HONOR, IF I MAY, JUST
TO BE CLEAR, I DID NOT INTEND TO SUGGEST I WAS SEEKING A,
YOU KNOW, A QUICK TRIAL THAT MIGHT PUT MR. SHEPARD IN A
DIFFICULT POSITION. MY INTEREST, AND THE GOVERNMENT'S
INTEREST, IN GETTING A TRIAL DATE AT THE NEXT HEARING,
WHICH IS MY WAY OF FORESHADOWING AND I DO ANTICIPATE WE'D
BE ASKING FOR, IS SIMPLY TO HAVE THE DISCIPLINING FACT OF
A TRIAL DATE.

THE COURT: SURE.

MR. DAWSON: BUT BUILDING IN ADEQUATE TIME,
MR. SHEPARD HAS MENTIONED THE POTENTIAL MOTIONS PRACTICE,
OBVIOUSLY WE WOULD BUILD IN TIME FOR THAT. AND SO I THINK
I'M NOT SEEKING TO JAM DEFENSE COUNSEL BY ANY STRETCH BUT
ONLY TO HAVE A SORT OF SCHEDULE IN PLACE TO GUIDE US AS WE
NEGOTIATE DISCOVERY, AND MAKE SURE THAT EVERYTHING MOVES
SMOOTHLY ON BOTH SIDES, IT'S BEEN MY EXPERIENCE A HELPFUL
THING TO HAVE.

THE COURT: WELL, I THINK WE SHOULD -- I'M
GOING TO SET ANOTHER STATUS IN 60 DAYS. WE SHOULD, YOU
SHOULD BE PREPARED TO AT LEAST DISCUSS WHAT, IF WE'RE IN A
POSITION WHERE WE CAN SET A TRIAL DATE WHATEVER THAT MAY
BE, BUT I DO WANT TO TALK ABOUT IT IN 60 DAYS. I'M NOT
SAYING I'M GOING TO SET ONE IN 60 DAYS. BUT I THINK THERE

IS SOME VALUE, AS MR. DAWSON SUGGESTS, ON MAKING A STAB AT

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Case 3:20-cr-00249-RS Document 89 Filed 05/31/22 Page 11 of 14

IT, AND PARTICULARLY THESE DAYS WHERE WE HAVE SO MUCH OF A
BACKLOG PROBLEM. ALTHOUGH, HOPEFULLY THAT'S GOING TO
START TO GET BETTER. MAYBE, MAYBE NOT.

SO, LET'S DO ANOTHER STATUS IN ABOUT 60 DAYS.
MS. LEW, YOU WANT TO GIVE ME A SUGGESTION?

THE CLERK: THE 24TH, I THINK YOU HAVE VISHAWN
ON THAT MONDAY, SO MAYBE THE FOLLOWING, MAY 31ST?

THE COURT: OKAY. AND THAT WOULD BE AT 2:30?

THE CLERK: 2:30, CORRECT.

THE COURT: RIGHT. AND WE'LL ASSUME IT'S BY
ZOOM. AND, OKAY, HOW ABOUT THAT?

MR. DAWSON: THAT WORKS FOR THE GOVERNMENT.

MR. SHEPARD: MAY 31ST IS A TUESDAY?

THE COURT: (NODS HEAD UP AND DOWN)

MR. SHEPARD: THAT, THAT WORKS. THANK YOU,
YOUR HONOR.

THE COURT: 2:30. AND THE SPEEDY TRIAL
SITUATION, MR. DAWSON?

MR. DAWSON: IN THE GOVERNMENT'S VIEW, GIVEN
THE ONGOING DISCOVERY, NEGOTIATIONS, ADDITIONAL MATERIALS
TO PRODUCE, WE THINK AN EXCLUSION OF TIME FOR EFFECTIVE
PREPARATION WOULD BE APPROPRIATE.

MR. SHEPARD: NO OBJECTION TO THAT, YOUR
HONOR.

THE COURT: OKAY. IF YOU COULD GIVE ME A

11

Case 3:20-cr-00249-RS Document 89 Filed 05/31/22 Page 12 of 14

PROPOSED EXCLUSION ORDER, MR. DAWSON?

MR. DAWSON: OF COURSE.

THE COURT: AND WE'LL SEE YOU IN ABOUT 60
DAYS.

MR. DAWSON: AND, YOUR HONOR, IF I MAY JUST
ASK A --

THE COURT: YEAH.

MR. DAWSON: -- QUICK QUESTION, BECAUSE THIS
CAME UP AS WE DISCUSSED WITH DEFENSE COUNSEL, AND I'VE
BEEN CURIOUS. DOES YOUR HONOR PREFER A STIPULATION AND
PROPOSED ORDER, OR JUST A PURE PROPOSED ORDER BASED ON THE
RECORD OF THE HEARING TODAY?

THE COURT: YOU KNOW, I WANT YOU TO SEND IT BY
MR. SHEPARD, BUT IT DOESN'T NEED TO BE A STIPULATION.
HE'S ON THE RECORD SAYING HE DOESN'T HAVE A PROBLEM WITH
IT. IT'S -- I'LL -- I DON'T HAVE A STRONG VIEW. I GET
THEM IN BOTH VERSIONS. BUT I -- WHATEVER IS THE MOST
CONVENIENT WAY TO DO IT. I THINK THE RECORD IS PRETTY
CLEAR.

CERTAINLY, IF IT'S A SITUATION WHICH THERE'S
AN OBJECTION BY ONE SIDE OR THE OTHER, I WANT THAT
REFLECTED IN THE PROPOSED ORDER. BUT HERE, MR. SHEPARD
HAS INDICATED HE DOESN'T OBJECT. SO I, IT DOESN'T MATTER
TO ME.

MR. DAWSON: UNDERSTOOD. I APPRECIATE IT.

12

Case 3:20-cr-00249-RS Document 89

Filed 05/31/22 Page 13 of 14

THE COURT:
VERY GOOD. ALL RIGHT.
MR. SHEPARD:

MR. DAWSON:

MR. WEINGARTEN:

THE COURT:

(WHEREUPON,

OKAY. ALL RIGHT. ANYTHING ELSE?
THANK YOU.

THANK YOU, YOUR HONOR.

THANK YOU, YOUR HONOR.
THANK YOU, YOUR HONOR.
THANK YOU.

PROCEEDINGS WERE CONCLUDED.)

13

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Case 3:20-cr-00249-RS Document 89 Filed 05/31/22 Page 14 of 14

CERTIFICATE OF REPORTER

I, GEORGINA GALVAN COLIN, PRO TEMP COURT

REPORTER FOR THE UNITED STATES DISTRICT COURT FOR THE

NORTHERN DISTRICT OF CALIFORNIA, 280 SOUTH FIRST STREET,

SAN JOSE, CALIFORNIA, DO HEREBY CERTIFY:

THAT THE FOREGOING TRANSCRIPT IS A FULL, TRUE

AND CORRECT TRANSCRIPT OF THE PROCEEDING HAD IN THE ABOVE

ENTITLED MATTER, THAT I REPORTED THE SAME IN STENOTYPE TO

THE BEST OF MY ABILITY, AND THEREAFTER HAD THE SAME

TRANSCRIBED BY COMPUTER-AIDED TRANSCRIPTION AS HEREIN

APPEARS.

/S/ GEORGINA GALVAN COLIN
GEORGINA GALVAN COLIN, CSR
LICENSE NUMBER 10723

DATED: MAY 31ST, 2022

